
7 So.3d 1203 (2009)
STATE ex rel. Chris GILKERS
v.
STATE of Louisiana.
No. 2008-KH-1617.
Supreme Court of Louisiana.
April 24, 2009.
This application is transferred to the Fifth Circuit Court of Appeal for consideration pursuant to the procedures outlined in that court's en banc resolution of September 9, 2008. See State v. Cordero, 08-1717 (La.10-3-08), 993 So.2d 203.
WEIMER, J., concurs in part and dissents in part for the reasons assigned in State v. Cordero, 08-1717 (La.10-03-08), 993 So.2d 203.
GUIDRY, J., recused.
